Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 1 of 29 PageID #: 1




                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK




KATRINA BERGER individually and on           Case No. 1:22-cv-7374
behalf of herself and all others similarly
situated,                                    CLASS ACTION
                                             DEMAND FOR JURY TRIAL
                             Plaintiff,
       v.

JETBLUE AIRWAYS CORPORATION and
AMERICAN AIRLINES GROUP INC.,

                             Defendants.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 2 of 29 PageID #: 2




                                CLASS ACTION COMPLAINT

        Plaintiff Katrina Berger (the “Plaintiff”), on behalf of herself and all others similarly

situated, allege the following Class Action Complaint (the “Action”) for actual damages, treble

damages, declaratory and injunctive relief, costs of suit, pre- and post- judgment interest, and other

relief upon personal knowledge as to themselves and their own actions, and upon information and

belief, including the investigation of counsel as follows:

   I.        NATURE OF THE ACTION

        1.     This is an action under the Sherman Antitrust Act to restrain the anticompetitive

conduct of Defendants, JetBlue Airways Corporation (“JetBlue”) and American Airlines Group

Inc. (“American Airlines”) (collectively, “Defendants”) to remedy the effects of Defendants’

unlawful conduct, to protect free market competition from continued unlawful manipulation, and

to remedy harm to consumers who purchased airline tickets from Defendants.

        2.     In 2019, Defendants JetBlue and American Airlines began to discuss what the

United States Department of Justice (“DOJ”) and several states attorneys’ general would, in their

own lawsuit against the Defendants, call “a modern-day version of a nineteenth-century business

trust” that harms consumers to the tune of $700 million annually. The agreement, which eliminates

head-to-head competition between JetBlue and American Airlines at four of the largest airports in

the United States (Boston Logan, New York-LaGuardia, New York-Kennedy, and Newark-

Liberty Airports), leads to supracompetitive prices for consumers, like Plaintiff Berger, and the

members of the Class, who bought airline tickets from JetBlue and American Airlines after the

agreement was formally entered into on July 15, 2020.

        3.     According to the DOJ, the agreement coined the Northeastern Alliance (the

“Alliance”) “commit[s] to pool revenues and coordinate ‘on all aspects’ of network planning at
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 3 of 29 PageID #: 3




Boston Logan, JFK, LaGuardia, and Newark Liberty airports, including deciding together which

routes to fly, when to fly them, who will fly them, and what size planes to use… In addition…

Defendants [commit] to pool and apportion revenues earned on flights to and from the four airports

such that each partner earns the same revenues regardless of whether a passenger flies on an

American or JetBlue plane.” Additionally, a series of other agreements went along with these

restraints, including, according to the DOJ, “a [codesharing agreement], through which American

and JetBlue have agreed to market each other’s flights to and from the four airports, as well as

potentially other flights that have yet to be determined. American and JetBlue have also agreed to

pool their “slots” at JFK and LaGuardia, which are takeoff and landing authorizations issued by

the Federal Aviation Administration.”

         4.     The DOJ and the plaintiff states continue, “[t]hese kinds of restraints of trade –

agreements between competitors to coordinate on output or to share revenues – are often

condemned as per se illegal because they have the same tendencies to increase prices and reduce

output as explicit horizontal agreements on price… Moreover, Defendants can raise fares simply

by one of them exiting a market where it competed against the other, and then share in their-now

ally’s increased profits.” The DOJ concludes, as this Action does, that the “Alliance is

anticompetitive and unlawful as a whole, and the output coordination and revenue-sharing

restraints present particular competitive concerns due to their inherently anticompetitive nature.”

         5.     As such, Plaintiff Berger and the members of the Class bring this Action for

damages, trebled damages, injunctive relief, and reasonable attorneys’ fees against Defendants

JetBlue and American Airlines due to their per se violation of the Sherman Antitrust Act.

   II.        JURISDICTION AND VENUE
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 4 of 29 PageID #: 4




           6.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337,

as this action arises out of Section 1 of the Sherman Antitrust Act (15 U.S.C. § 1) and Sections 4

and 16 of the Clayton Antitrust Act (15 U.S.C. §§ 15 and 26), because Plaintiff alleges violations

of federal law.

           7.      This Court has personal jurisdiction over Defendants under Section 12 of the

Clayton Act (15 U.S.C. § 22). Defendants, directly or through their divisions, subsidiaries,

predecessors, agents, or affiliates, are be found in and transact business this District. Defendants,

directly or through their divisions, subsidiaries, predecessors, agents, or affiliates, engage in

interstate commerce in the sale of airline tickets to consumers, like Plaintiff Berger, and the

members of the Class.

           8.      Venue is proper in this District pursuant to Section 12 of the Clayton Act (15 U.S.C.

§ 22) and the federal venue statute (28 U.S.C. § 1391), because one or more Defendants maintain

their principal place of business, business facilities, have agents, transact business, and are

otherwise found within this District and certain unlawful acts alleged herein were performed and

had effects within this District.

    III.         PARTIES

           Plaintiff Katrina Berger

           9.      Plaintiff Katrina Berger is a natural person and a resident of the state of New York.

           10.     Plaintiff Katrina Berger is a direct purchaser of flights from JetBlue – and has used

their services at least once during the proposed Class Period, including on flights originating out

of and returning to New York’s airports. Plaintiff Katrina Berger has paid JetBlue directly either

through JetBlue’s mobile application or through the JetBlue website for her tickets purchased in

order to travel on these respective flights.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 5 of 29 PageID #: 5




         Defendant JetBlue Airways Corporation

         11.     Defendant JetBlue is a Delaware corporation with its headquarters located in Long

Island City, New York. In 2019, the last full year before the establishment of the Alliance, JetBlue

made roughly $8 billion in revenues.

         Defendant American Airlines Group, Inc.

         12.     Defendant American Airlines is a Delaware corporation with its headquarters

located in Fort Worth, Texas. In 2019, the last full year before the establishment of the Alliance,

American Airlines made roughly $45 billion in revenues.

   IV.         FACTUAL ALLEGATIONS

         A. Defendants’ Businesses

                 JetBlue Airways Corporation

         13.     JetBlue is a New York-based corporation and markets itself as a low-cost airline

carrier providing flights to consumers both domestically and internationally.

         14.     JetBlue’s operations in New York are robust for a relatively new airline (as

compared to Delta, United, and American Airlines). According to JetBlue’s 2021 Annual Report,

JetBlue calls itself “New York’s Hometown Airline” as “approximately one-half of [JetBlue’s]

flights originate or are destined for the New York metropolitan area.” According to JetBlue in the

same report, through the Alliance, “[JetBlue] expects to offer nearly 300 daily departures at JFK,

with JetBlue operating approximately 200 flights [and American operating the other 100].”

         15.     JetBlue is also “the largest carrier at Boston’s Logan” and that “[t]ogether with

American, the [Alliance] will offer more than 200 daily departures at Boston, serving 46 of the top

50 U.S. mainland markets from Boston.”

                 American Airlines Group, Inc.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 6 of 29 PageID #: 6




       16.     American Airlines is a Texas-based corporation and is the largest airline both

domestically and internationally; additionally, American Airlines provides flights to consumers

both domestically and internationally.

       B. Relevant Market

       17.     Insofar as Plaintiff is required to plead the relevant product and geographic market

to establish the antitrust violations alleged here, Plaintiff allege the relevant markets at issue and

have pled how Defendants’ conduct has harmed competitive processes in these markets.

       18.     The relevant market in this Action is the market for airline flights out of airports in

the United States.

       19.     Millions of consumers originating out of Boston Logan, JFK, LaGuardia, and

Newark airports depend on the airline industry to be able to travel both domestically and

internationally. These consumers depend on competition among the airlines who fly out of these

respective airports to drive innovation, cost competition/affordability, consumer choice, and

quality of service.

       20.     Even the Defendants know this.

       21.     Indeed, prior to the Alliance, JetBlue was known in the airline industry for

continually lowering fares in order to attract consumers shopping for affordable flights out of the

aforementioned airports. For example, initially when JetBlue began service from JFK and Boston

Logan in the early 2000’s, JetBlue’s persistent lowering of fares caused competitors to also lower

theirs as well – leading to something that travel industry gurus called the “JetBlue effect.”

       22.     Prior to the Alliance, and as a result of JetBlue’s price competition, JetBlue gained

significant market share; for example, JetBlue became the number one airline originating out of

Boston Logan airport – and this was due in part to low fares for consumers; according to the DOJ,
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 7 of 29 PageID #: 7




in 2019, JetBlue calculated that it had saved consumers flying in and out of Boston more than $3

billion since it began serving the airport in 2004.

          23.   However, overtime, JetBlue’s attitude toward lowering fares changed – marked, in

part, by the establishment of the Alliance in 2020. As JetBlue began to realize that it was gaining

market share, JetBlue became more willing to raise prices on consumers – who had reduced choice

of flights due to JetBlue’s increasing size. And, with the establishment of the Alliance and with

American Airlines being the largest airline in the world, JetBlue gained access to even more slots

(take-off-and-landing authorizations) at each of the four aforementioned airports, giving JetBlue

an even larger share of control over the consumers who fly out of the four aforementioned airports,

reducing competition, and giving the Defendants the ability to raise prices to supracompetitive

levels.

          24.   The Relevant Market satisfies the test for market definition used by federal antitrust

enforcement agencies, widely known as the “SSNIP test.” The test asks whether a hypothetical

monopolist in a proffered market could profitably impose a small but significant (typically 5%),

non-transitory increase in price (a “SSNIP”), without causing a sufficient number of customers to

switch to other products or services such that the SSNIP would be unprofitable to the monopolist.

If the SSNIP is profitable, the market is properly defined. If the SSNIP is not profitable, the market

is too narrowly defined, and does not encompass sufficient economic substitutes.

          25.   Here, the SSNIP test is satisfied and the market is properly defined. As described

above and below, pursuant to the Defendants’ agreement, consumers overpay hundreds of millions

of dollars annually due to the Alliance’s propensity to raise prices, throttle competition and reduce

consumer choice, and yet those increases have not driven enough consumers out of the market

such that the SSNIP has become unprofitable to Defendants.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 8 of 29 PageID #: 8




       C. Geographic Market

       26.       In this Action, the Geographic Market is the entirety of the United States – as the

anticompetitive effects of the Alliance can be felt throughout the country.

       27.       While this Action is focused on Plaintiff and Class Members, who are airline

customers of JetBlue and/or American Airlines who flew out of Boston Logan, JFK, LaGuardia,

and Newark from the creation of the Alliance through the present, the Alliance impacts a much

broader swath of the economy and interstate commerce than just the immediately visible higher

prices for consumers originating from those four airports.

       D. Defendant’s Alliance

       28.       Prior to the Alliance, in 2019, JetBlue had the fourth largest market share for flights

to and from the northeastern United States (16% of capacity) and American Airlines had the largest

market share for flights in the same region (21% of capacity).

       29.       On July 16, 2020, the Defendants’ announced, in relevant part, the Alliance via

Press Release:

       NEW YORK & FORT WORTH, Texas--(BUSINESS WIRE)--JetBlue Airways Corp.
       (NASDAQ: JBLU) and American Airlines Group Inc. (NASDAQ: AAL) today
       announced a strategic partnership that will create seamless connectivity for
       travelers in the Northeast and more choice for customers across their
       complementary domestic and international networks. In addition, the
       relationship will accelerate each airline’s recovery as the travel industry adapts
       to new trends as a result of the pandemic.

       The partnership includes an alliance agreement that proposes codeshare and
       loyalty benefits that will enhance each carrier’s offerings in New York and
       Boston, providing strategic growth and driving value for customers and
       crewmembers of both airlines.

       30.       The Defendants touted the new partnership and released infographics to show the

full details of what was foreseen by the Defendants in terms of the Alliance’s benefit for consumers

of the two airlines:
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 9 of 29 PageID #: 9




       31.    However, these infographics failed to discuss the reductions in competition –

specifically for consumers for the affected routes as well as the price of airfares by the two

Defendants – and how those reductions in competition between the Defendants would harm

consumers. While the infographics touted the Alliance’s alleged proclivity to “create[] more

competitive options and choice for consumers in the northeast[ern United States]” it failed to

discuss the harms caused by the Defendants’ new combined market share in the northeastern

United States and how those harms would actually lead to fewer options and higher prices for

consumers.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 10 of 29 PageID #: 10




        32.     Combined, the two entities now represent and/or represented at least a 37% market

 share for flights to and from the northeastern United States.

                The Department of Transportation’s Review of the Alliance

        33.     Upon information and belief, the Alliance between the Defendants was first formed

 or discussed between the Defendants in 2019.

        34.     On or about July 22, 2020, American Airlines and JetBlue submitted to the

 Department of Transportation “cooperative agreements, including code-sharing and alliance

 agreements” for review under 49 U.S.C. 41720, which requires each of the major air carriers who

 entered into the agreement to submit a copy of the agreement and related materials to the Secretary

 of Transportation at least 30 days before the agreement takes effect. Under 49 U.S.C. 41712, “[t]he

 Department [of Transportation] retains independent statutory authority under 49 U.S.C. 41712 to

 prohibit unfair methods of competition in air transportation to further its statutory objectives to

 prevent predatory or anticompetitive practices and to avoid unreasonable industry concentration.”

        35.     On August 5, 2020, the Department of Transportation extended the waiting period

 for the code-sharing agreement to take effect from 30 days from July 22, 2020 (August 22, 2020)

 to November 19, 2020. Ultimately, the Department did not render a decision based on the legality

 of the Alliance, allowing the Alliance’s code-sharing agreement to take effect.

        36.     The reasons for this, according to the Department of Transportation, are two-fold:

 first, because the Department of Transportation stated that “the Department intends to defer to

 DOJ, as the primary enforcer of Federal antitrust laws” to resolve the antitrust concerns that the

 DOJ has identified with respect to [the Alliance] and, second, because Section 41720 “does not

 provide the Department authority to approve or disapprove agreements submitted for review under

 that section; rather, the section gives the Department a limited period of time to review the
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 11 of 29 PageID #: 11




 agreements before such agreements may take effect. DOJ, which is responsible for enforcing

 Federal antitrust laws and has also been conducting its own review of the [Alliance], had not

 concluded its investigation at the time DOT’s review period ended… In this context, DOT’s review

 of the [Alliance] under Section 41720 was not designed to approve or disapprove the alliance.”

        37.      The Department of Transportation, during the limited window it had to be able to

 review the Alliance, was able to reach an agreement for minor concessions by American Airlines

 and JetBlue but stated that the agreement “did not address all of the Department’s concerns

 resulting from the [Alliance]’s impacts on competition, but instead sought concessions from the

 carriers that were intended to mitigate some of the anticompetitive harm while providing a means

 for monitoring the [Alliance’s] implementation.”

        38.      Critically, “[t]he parties to the [Department of Transportation Agreement]

 recognized that the [A]lliance was still subject to the antitrust laws, that DOJ was continuing its

 review, and that DOT retained its authority to remedy any anticompetitive harm.” Historically,

 under 49 U.S.C. 41712, the Department of Transportation “prohibits anticompetitive conduct that

 (1) violates the antitrust laws, (2) is not yet serious enough to violate the antitrust laws but may

 well do so if left unchecked, or (3) although not a violation of the letter of antitrust laws, is close

 to a violation or is contrary to their spirit.” See, e.g. ASTA v. United et al., DOT Order 2002-9-2

 (Sept. 4, 2002); citing E.I. DuPont de Nemours and Co. v. Federal Trade Commission, 729 F.2d

 128, 136-137 (2d Cir. 1984).

        E. Spirit Airlines and Others Complain About the Alliance to the Department of

              Transportation

        39.      On January 7, 2021, Spirit Airlines filed a formal complaint with the Department

 of Transportation regarding the Alliance. Complaint of Spirit Airlines, Inc., Docket No. DOT-
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 12 of 29 PageID #: 12




 OST-2021-0001. Additionally, Spirit claimed that the information disclosed about the Alliance to

 the public was insufficient during the Department of Transportation’s review and that “the

 remedies agreed to in the Department of Transportation Agreement [between the DOT, JetBlue

 and American Airlines] were insufficient to address anticompetitive concerns.” The Spirit Airlines

 complaint led to other groups filing public comments about the Alliance being anticompetitive,

 including other airlines, an airline association, a non-profit focused on competition, and a

 consumer advocacy organization. However, these comments were filed after the public release of

 the agreement made between the DOT, JetBlue and American Airlines.

        40.     The DOT stayed the proceedings in Complaint of Spirit Airlines, Inc. while the

 DOJ’s action proceeded.

        F. Department of Justice and Several States Attorneys General Sue to Stop the Alliance

        41.     On September 21, 2021, the Department of Justice, along with the State of Arizona,

 the State of California, the District of Columbia, the State of Florida, the Commonwealth of

 Massachusetts, the Commonwealth of Pennsylvania, and the Commonwealth of Virginia sued

 American Airlines and JetBlue under Section 1 of the Sherman Act, stating “[t]he United States

 and Plaintiff States bring this action to prevent harm to consumers that will occur once the

 [Alliance] is fully implemented[.]” United States of America, et al. v. American Airlines Group

 Inc. and JetBlue Airways Corporation, Case No. 1:21-cv-11558 (D. Ma., filed Sept. 21, 2021),

 ECF No. 1 (the “DOJ Complaint”).

        42.     The DOJ Complaint states that “[b]y consolidating [Defendants’] businesses in this

 way, American and JetBlue will effectively merge their operations on flights to and from the four

 airports… In so doing, the Northeast Alliance will eliminate significant competition between

 American and JetBlue that has led to lower fares and higher quality service for consumers traveling
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 13 of 29 PageID #: 13




 to and from those airports. It will also tie JetBlue’s fate to that of American, diminishing JetBlue’s

 incentives to compete with American in markets across the country. The United States and Plaintiff

 States bring this action to prevent the hundreds of millions in harm to consumers that will occur if

 these two rivals are permitted to maintain this [Alliance.]”

        43.     As the DOJ complaint states, American Airlines, which is the largest airline

 domestically and internationally, is led by management which has “long been a ‘proponent of

 consolidation in the industry’” and that “‘domestic consolidation’ remains one of American’s ‘long

 term projects.’” Indeed, internally, the DOJ reports that American Airlines’ former CEO and

 current Chairman Doug Parker has been referred to as “the Godfather of consolidation,” having

 led numerous mergers previously – as CEO of America West, Parker led a merger with US

 Airways; as CEO of US Airways, Parker led a merger with American Airlines; and now, at

 American Airlines, Parker has engaged in the Alliance as described herein, what the DOJ calls a

 “modern-day version of a nineteenth-century business trust.”

        44.     JetBlue, being a smaller airline with a slimmer market share than American

 Airlines, has opposed consolidation before the alliance. JetBlue’s CEO stated two years before the

 alliance that consolidation “has come at a cost to consumers. Just look at the fares in some of the

 fortress hubs and in some of the legacy-dominated markets without low-fare competition. Chances

 are, you’ll see fares that are higher than they should be and in that construct there’s very little

 incentive to provide great service or to innovate.”

        45.     The DOJ Complaint survived a Motion to Dismiss by the Defendants, with the

 Court stating in relevant part: “the [Alliance] at issue between American and JetBlue is likely to

 harm competition in the relevant markets, and that American and JetBlue control a significant

 share in an already concentrated market.” ECF No. 106, (Sorokin, J.).
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 14 of 29 PageID #: 14




        46.     In September 2022, one year after the DOJ and Plaintiff states initiated their

 challenge to the alliance, the trial began in Judge Sorokin’s courtroom in September of 2022. At

 the trial, the DOJ and the Plaintiff States’ attested to government economists’ estimates that

 consumers would be harmed to the tune of $700 million annually and that, because of JetBlue’s

 removal as a low-cost carrier, that other airlines would be less incentivized to participate in price

 competition after JetBlue’s Alliance with American Airlines.

        47.     The trial in this matter concluded on November 18, 2022, after an 18-day bench

 trial in front of Judge Sorokin. ECF No. 327.

        G. The Alliance is Anticompetitive and Causes Antitrust Injury

        48.     The Alliance will combine JetBlue and American Airlines’ respective market share

 at the four airports that are highlighted by this Action – JFK, LGA, EWR and BOS. At JFK and

 LGA. Prior to the Alliance, JetBlue already had the largest market share at BOS, which only grew

 with the agreement between Defendants to enter the Alliance.

        49.     Specifically, the DOJ testified at trial that for routes between Boston and 12 major

 airports, that the Defendants have a combined revenue share of over 49.8% for each of those routes

 as listed below:

                (a)     Boston – Charlotte: 96.1% (combined revenue share)

                (b)     Boston – Chicago: 48.5%

                (c)     Boston – Dallas: 83.6%

                (d)     Boston – Los Angeles: 62.6%

                (e)     Boston – Miami: 76.5%

                (f)     Boston – New York City (JFK or LGA): 49.8%

                (g)     Boston – Philadelphia: 86.8%
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 15 of 29 PageID #: 15




                (h)     Boston – Phoenix: 85.2%

                (i)     Boston – Rochester: 86.2%

                (j)     Boston – Syracuse: 82.1%

                (k)     Boston – Washington D.C. (DCA): 88%

        50.     Each of these revenue shares is anticompetitive under the conventional HHI test,

 which measures market concentration and potential for anticompetitive conduct.

        51.     Additionally, the DOJ testified at trial that for routes between JFK/LGA or EWR

 and 18 major airports, that the Defendants have a combined revenue share of over 31% for each

 of those routes as listed below:

                (a)     New York (JFK/LGA) – Austin: 44.6%

                (b)     New York – Charleston: 43.6%

                (c)     New York – Chicago: 36.2%

                (d)     New York – Las Vegas: 46.5%

                (e)     New York – Los Angeles: 57%

                (f)     New York – Martha’s Vineyard: 92.5%

                (g)     New York – Miami: 55.9%

                (h)     Newark – Miami: 31%

                (i)     New York – Nantucket: 96.8%

                (j)     New York – Orlando: 55.3%

                (k)     New York – Phoenix: 61.5%

                (l)     New York – Portland: 37.4%

                (m)     New York – Raleigh-Durham: 47.8%

                (n)     New York – San Diego: 44.7%
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 16 of 29 PageID #: 16




                  (o)    New York – San Francisco: 45.7%

                  (p)    New York – Savannah: 46.5%

                  (q)    New York – West Palm Beach: 60%

         52.      Each of these revenue shares is anticompetitive under the conventional HHI test,

 which measures market concentration and potential for anticompetitive conduct.

         53.      In 2019, prior to the Alliance, the general, non-route specific market share of each

 of the two airlines in the New York City and Boston metro areas were as follows:

                  (a)    New York City:

                         (i)     JetBlue: 24%

                         (ii)    American Airlines: 16%

                  (b)    Boston:

                         (i)     JetBlue: 35%

                         (ii)    American Airlines: 16%

         54.      Thus, the combined market share in 2019 of the two previously independent entities

 is as follows:

                  (a)    New York City:

                         (i)     JetBlue and American Airlines: 40%

                  (b)    Boston:

                         (i)     JetBlue and American Airlines: 51%

         55.      These dominant market shares that are highlighted by this Action allow the

 Defendants to dictate flight availability, fare pricing, and other variables at these respective

 airports.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 17 of 29 PageID #: 17




        56.     Competition and consumers alike are harmed as a result of the Alliance – including

 but not limited to the following effects: the Alliance eliminates head-to-head competition between

 the Defendants, reducing consumer choice as well as price competition in the market generally,

 and increases the likelihood of anticompetitive coordination.

        57.     Ironically, this is articulated by the Defendants themselves when examining the

 threat of other airlines doing the same as what the Defendants did in the Action as alleged herein

 with respect to the Alliance: American Airlines, in their 2021 Annual Report, discusses how

 “additional mergers and other forms of industry consolidation” could harm American Airlines’

 bottom line and market share: “[d]epending on which carriers combine and which assets… our

 competitive position relative to the post-combination carriers or other carriers that acquire such

 assets could be harmed. In addition, as carriers combine through traditional mergers or antitrust

 immunity grants, their route networks will grow, and that growth will result in greater overlap with

 our network, which in turn could decrease our overall market share and revenues.”

        58.     This was also articulated by Defendants in deposition testimony and while at trial

 in the DOJ and Plaintiff States’ case before Judge Sorokin:

                (a)     Paul Swartz, American Airlines Regional Sales Manager, when asked “[s]o

 you no longer compete with JetBlue”: “… yes.”

                (b)     Brian Znotins, American Airlines Vice President, Network & Regional

 Schedule Planning, when asked “[s]o you are no longer competitors [with JetBlue] on those

 [Alliance] routes from a network perspective”: “Yes.”

                (c)     Robin Hayes, JetBlue CEO, when asked “[a]nd you would agree that, within

 the [Alliance], where the two airlines are coordinating capacity, JetBlue and American no longer

 compete with each other, correct?”: “… we don’t compete with each other directly.”
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 18 of 29 PageID #: 18




                (d)    Scott Laurence, American Airlines SVP of Partnership Strategy, when

 asked “[w]ith the [Alliance] in place, do you agree that the revenue sharing component means that

 it makes more sense to cooperate with American than compete?”: “For [Alliance] routes, yes.”

        59.     The harm to consumers and to competition is well articulated by the Defendants’

 direct competitors in the Relevant Market. Some of the concerns articulated by competitors include

 harm to consumers (in the form of higher prices, reduced choice, and, subsequently, being priced

 out of the Relevant Market), the inability for new entrants into the market (because the Defendants

 control the available slots at airports which would be needed in order to viably compete with the

 Defendants), and other types of harm.

        60.     For example, Spirit Airlines’ antitrust complaint with the Department of

 Transportation was bolstered by economic analysis of how consumers would be impacted by the

 alliance. Generally, the analysis found that consumers would be harmed:
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 19 of 29 PageID #: 19




        61.     Specifically, Spirit Airlines did an analysis of how the Alliance would impact

 consumer pricing, and found that even marginal increases in airfares as a result of the Alliance

 would result in hundreds of millions of dollars of revenue for the Defendants on an annual basis:
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 20 of 29 PageID #: 20




        62.     And, as a result of these increases in price, more consumers would be “priced out

 of the market” for airfare. Spirit Airlines also did an analysis of the effect of higher prices on

 consumer demand:
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 21 of 29 PageID #: 21




        63.    Both of analyses by Spirit Airlines show the real impacts of the Alliance on

 consumers: higher prices leading to a decline in demand due to “more passengers being priced out

 of the market.”

        64.    Additionally, this has been the conclusion of the states’ attorneys general and the

 Department of Justice who sued JetBlue and American Airlines over the Alliance. The DOJ and
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 22 of 29 PageID #: 22




 the Plaintiff States testified at trial that the Alliance would cause up to $700 million in higher fares

 for consumers annually.

         65.     Airline prices over the Class Period have far outpaced the rate of inflation, which,

 in part, may be due to unlawful agreements like the Alliance – this is direct evidence of consumer

 harm as a result of the Alliance. Additionally, during the Class Period, both Defendants JetBlue

 and American Airlines have cut routes and reduced the amount of planes in the air “in an effort to

 stabilize operations” – this is direct evidence that consumers are experiencing reduced output and

 diminished service quality.

         66.     Specific to these consumers, however, the prices of airfares out of Boston Logan,

 LaGuardia, JFK and Newark Liberty have increased substantially from prior to the class period

 through the present day:
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 23 of 29 PageID #: 23




        67.     Given that the quality of flights have not substantially improved, the Defendant’s

 dominant market shares in the respective four airports (originating and arrivals via JFK,

 LaGuardia, Boston Logan and Newark-Liberty) at issue in this Action, and that the Alliance was

 supposed to foster competition and drive prices down (according to Defendants), there is no excuse

 beyond the implementation of the illegal agreement for why prices have made such a substantial

 leap in such a short time-span.

        68.     These are the types of harms that the antitrust laws were intended to combat and

 prevent. Additionally, there are threats to consumers beyond just price and output. As stated by

 FTC Commissioner Lina Khan in her paper, The Amazon Paradox: “long-term interests of

 consumers include product quality, variety and innovation – factors best promoted through both a

 robust competitive process and open markets. By contrast, allowing a highly concentrated market

 structure to persist endangers these long-term interests, since firms in uncompetitive markets need

 not compete to improve old products or tinker to create [new] ones.”

        69.     Indeed, the antitrust laws were intended to prevent all of these types of harms

 caused by a lack of competition. Commissioner Khan’s paper reveals discusses how the legislative

 history for the Sherman Act called “for diversity and access to markets [and in opposition to] high

 concentration and abuses of power.” United States Senator John Sherman himself, the Senator

 from Ohio who was the architect of the Sherman Antitrust Act, stated: “[i]f we will not endure a

 king as a political power, we should not endure a king over the production, transportation, and sale

 of any of the necessities of life. If we would not submit to an emperor, we should not submit to an

 autocrat of trade, with power to prevent competition and to fix the price of any commodity.”

        70.     As such, Plaintiff Berger and the members of the Class bring this Action to rectify

 the harms as alleged herein.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 24 of 29 PageID #: 24




         H. Defendants Profit from the Alliance

         71.     The Defendants have profited substantially as a result of the Alliance.

         72.     For example, in JetBlue’s 2021 Annual Report, JetBlue states that they reached

 $100 million in gross codeshare revenue generated by the Alliance. In that same Annual Report,

 JetBlue states that they “continue to seek additional strategic opportunities through new

 commercial partners as well as assess ways to deepen existing airline partnerships, including the

 [Alliance.] We plan to do this by expanding codeshare relationships and other areas of cooperation

 such as frequent flier programs. We believe these commercial partnerships allow us to better

 leverage our strong network and drive incremental traffic and revenue[.]” If the goal of the Alliance

 was to provide lower fares to consumers, “driv[ing] revenue” directly clashes with that goal.

    V.         CLASS ALLEGATIONS

         73.     Plaintiff brings this action on behalf of herself and all others similarly situated

 pursuant to Federal Rules of Civil Procedure 23(a) and 23(b)(3) as representatives of the Class,

 which is defined as follows:

         Nationwide Class. All direct purchasers of airline tickets going to or from BOS,
         LGA, JFK, and EWR from Defendants JetBlue and American Airlines from when
         the Alliance was officially established on July 16, 2020 through the present day
         (the “Class Period’’).

         74.     Numerosity. The Class is so numerous that joinder of all members in this action is

 impracticable. There are millions of members in the proposed Class who, like Plaintiff Berger,

 bought tickets from JetBlue and/or American Airlines directly during the proposed Class Period

 for flights which either originated from or landed at Boston Logan, JFK, LaGuardia, or Newark

 Liberty airport(s).
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 25 of 29 PageID #: 25




        75.     Typicality. Plaintiff’s claims are typical of those of the Class. Plaintiff and all

 members of the Class were all injured by the same unlawful conduct, which resulted in all of them

 paying more for flights than they otherwise would have in a normal, competitive market.

        76.     Predominance. Questions of law and fact common to the members of the Class will

 predominate over questions, if any, that may be individual to individual class members, since the

 Defendants have acted and refused to act on grounds generally applicable to the Class.

        77.     Questions of law and fact common to the Class include:

                (a)     Whether Defendants have entered into a formal or informal contract,

 combination, conspiracy, or common understanding to artificially inflate price and/or artificially

 suppress supply of flights originating or landing in the aforementioned airports;

                (b)     If Defendants entered into such a formal or informal contract, combination,

 conspiracy, or common understanding, whether that conduct violates Section 1 of the Sherman

 Act under the per se, quick look, or rule of reason modes of analysis;

                (c)     If Defendants entered into such a formal or informal contract, combination,

 conspiracy, or common understanding, whether that conduct has in fact artificially inflated price

 and/or artificially suppressed supply in the Relevant Market;

                (d)     The proper measure of damages; and

                (e)     The contours of appropriate injunctive relief to remediate the

 anticompetitive effects of the challenged conduct in the future.

        78.     Adequacy. Plaintiff is represented by counsel who are experienced and competent

 in the prosecution of complex antitrust and unfair competition class actions. Plaintiff will fairly

 and adequately protect and represent the interests of the Class. The interests of the Plaintiff is not

 antagonistic to the Class.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 26 of 29 PageID #: 26




           79.     Class action treatment is the superior method for the fair and efficient adjudication

 of the controversy in that, among other things, such treatment will permit many similarly situated

 people to prosecute their common claims in a single forum simultaneously, efficiently, and without

 the unnecessary duplication of effort and expense that numerous individual actions would

 engender. The benefits of proceeding through the class mechanism, including providing injured

 persons with a method of obtaining redress for claims that might not be practicable for them to

 pursue individually, substantially outweigh any difficulties that may arise in the management of

 this class action.

     VI.         CAUSES OF ACTION

                                              COUNT ONE

                       VIOLATION OF THE SHERMAN ANTITRUST ACT

                                               15 U.S.C. 1

           80.     Plaintiff incorporates and realleges, as though fully set forth herein, each and every

 allegation set forth in the preceding paragraphs of this Complaint.

           81.     Beginning at a time currently unknown to Plaintiff and members of the Class,

 Defendants colluded to artificially inflate the price of flights to and from BOS, LGA, EWR, and

 JFK airports.

           82.     Defendants’ agreement has caused Plaintiff and members of the Class to suffer

 overcharge damages.

           83.     There are no procompetitive justifications for the Defendants’ agreement, and any

 proffered justifications, to the extent legitimate, could have been achieved through less restrictive

 means.

           84.     The Defendants’ cartel is unlawful under a per se mode of analysis.
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 27 of 29 PageID #: 27




        85.      In the alternative, the Defendants’ cartel is unlawful under either a quick look or

 rule of reason mode of analysis.

        86.      Defendants’ conduct caused the Plaintiff and the members of the Class to pay

 supracompetitive prices for airline tickets to and from BOS, LGA, JFK, and EWR airports in the

 Relevant Market.

    VII.      PRAYER FOR RELIEF

        87.      WHEREFORE, Plaintiff, on behalf of herself and the Class of all others so similarly

 situated, respectfully request judgment against Defendants as follows:


        A. The Court determine that this action may be maintained as a class action under Rule

              23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiff as

              Class Representative and their counsel of record as Class Counsel, and direct that notice

              of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be

              given to the Class, once certified;

        B. The unlawful conduct, conspiracy, or combination alleged herein be adjudged and

              decreed in violation of Section 1 of the Sherman Act;

        C. Plaintiff and the Class recover damages, to the maximum extent allowed under the

              applicable laws, and that joint and several judgments in favor of Plaintiff and the

              members of the Class be entered against Defendants in an amount to be trebled to the

              extent such laws permit;

        D. Defendants, their affiliates, successors, transferees, assignees and other officers,

              directors, partners, agents and employees thereof, and all other persons acting or

              claiming to act; on their behalf or in concert with them, be permanently enjoined and

              restrained from in any manner continuing, maintaining or renewing the conduct,
Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 28 of 29 PageID #: 28




               conspiracy, or combination alleged herein, or from entering into any other conspiracy

               or combination having a similar purpose or effect, and from adopting or following any

               practice, plan, program, or device having a similar purpose or effect;

         E. Defendants, their affiliates, successors, transferees, assignees and other officers,

               directors, partners, agents and employees thereof, and all other persons acting or

               claiming to act on their behalf or in concert with them, be permanently enjoined and

               restrained from in any manner continuing, maintaining, or renewing the sharing of

               highly sensitive competitive information that permits individual identification of

               company’s information;

         F. Plaintiff and the members of the Class be awarded pre- and post- judgment interest as

               provided by law, and that such interest be awarded at the highest legal rate from and

               after the date of service of this Complaint;

         G. Plaintiff and the members of the Class recover their costs of suit, including reasonable

               attorneys’ fees, as provided by law; and

         H. Plaintiff and the members of the Class have such other and further relief, including

               injunctive relief, as the case may require and the Court may deem just and proper.


     VIII. JURY TRIAL DEMAND

         88.      Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

 Civil Procedure, of all issues so triable.

 DATED:           Dec. 5, 2022                    Respectfully submitted,

                                                  /s/ Blake Hunter Yagman
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Case 1:22-cv-07374-AMD-TAM Document 1 Filed 12/05/22 Page 29 of 29 PageID #: 29




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